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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION



UNITED STATES O AMERICA,

       Plaintiff/Respondent,

vs.
                                                             Crim. Case No. 92-CR-81127
GREGORY BROWN,
                                                                      HON. AVERN COHN
     Defendant/Petitioner.
_______________________________/

  ORDER CONSTRUING DEFENDANT/PETITIONER’S LETTER (Doc. 2202) AS A
                  MOTION UNDER 28 U.S.C. § 2255
  AND TRANSFERRING THE MATTER TO THE COURT OF APPEALS FOR THE
                         SIXTH CIRCUIT

                                             I.

       This is a criminal case that has long since closed. In 1997, defendant/petitioner

Gregory Brown (Brown) was convicted by a jury of (1) conspiracy to posses with intent

to distribute cocaine, in violation of 21 U.S.C. § 846 and § 841(a)(1), (2) intentional

killing, aiding and abetting, in furtherance of a continuing criminal enterprise (CCE), in

violation of 21. U.S.C. § 848(e)(1)(A), and 18 U.S.C. § 2, and (3) using or carrying a

firearm in relation to a drug offense, in violation of 18 U.S.C. § 924(c). Brown was

sentenced to life imprisonment. He appealed. The Court of Appeals for the Sixth

Circuit affirmed his conviction and sentence. United States v. Brown, No. 97-1618,

2000 WL 876382 (June 20, 2000) (unpublished). The United States Supreme Court

denied certiorari. Brown v. United States, No. 00-7007 (Dec. 11, 2000).
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       Thereafter, Brown filed multiple post conviction motions, including two motions

under 28 U.S.C. § 2255. See Docs. 1870, 1975. The Court denied Browns’ first motion

for lack of merit. (Doc. 1885). The Sixth Circuit declined to grant Brown a certificate of

appealability, thereby affirming the denial of his motion. (Doc. 1901). As to Brown’s

second motion, Doc. 1975, the Court transferred it to the Sixth Circuit as a successive

petition. (Doc. 1976). The Sixth Circuit dismissed the case for lack of prosecution.

(Doc. 1961).

       Before the Court is a letter from Brown dated November 19, 2014 which he asks

to be construed as a motion. So construed, the letter is Brown’s third motion under

§ 2255. Brown argues that his trial counsel was ineffective in advising him to proceed

to trial rather than accept the government’s plea offer.

                                             II.

       Before a successive motion to vacate sentence is filed in a federal district court,

Petitioner must first file a motion with the appropriate court of appeals requesting

permission to file a second or successive motion to vacate sentence. 28 U.S.C. §

2244(b)(3); see also In Re Hanserd, 123 F.3d 922, 934 (6th Cir. 1997). Where, as here,

a successive motion to vacate sentence is erroneously filed with the district court, the

district court is required to transfer the motion to the court of appeals under 28 U.S.C. §

1631. Id. (citing In Re Sims, 111 F.3d 45, 47 (6th Cir. 1997)). A district court does not

have jurisdiction to entertain a successive post-conviction motion or petition for writ of

habeas corpus in the absence of an order from the court of appeals authorizing the filing

of such a successive motion or petition. Ferrazza v. Tessmer, 36 F. Supp. 2d 965, 971

(E.D. Mich. 1999).

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       Accordingly, the Court TRANSFERS this matter to the Sixth Circuit under 28

U.S.C. § 1631 for a determination of whether Brown is entitled to a certificate of

authorization to file a successive motion to vacate under § 2255.

       SO ORDERED.



                                           S/Avern Cohn
                                          AVERN COHN
                                          UNITED STATES DISTRICT JUDGE


Dated: December 3, 2014
      Detroit, Michigan

I hereby certify that a copy of the foregoing document was mailed to the attorneys of
record on this date, December 3, 2014, by electronic and/or ordinary mail.


                                          S/Sakne Chami
                                          Case Manager, (313) 234-5160




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